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           IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION



                                             *
UNITED STATES OF AMERICA,
                                             *


      v.                                     *
                                                        1 : 16-CR-006-07-ELR-AJB
                                             *

                                             *
GUSTAVO ADOLPHO RAMIREZ-
                                             *
REYES,
                                             *

                                             *
            Defendant.
                                             *




                                        ORDER



      This case is before the Court on the Report and Recommendation ('R&R")


issued by Magistrate Judge Baverman. (Doc. 364).                  The Court's rulings and


conclusions are set forth below.


I. Background


      Defendant     Gustavo   Adolpho      Ramirez-Reyes,     along    with   several   co-


defendants, has been charged in a multiple count indictment for drug distribution.


Defendant   filed   a   motion    to   suppress    geo-location    evidence   (Doc.   261),


specifically, historical cell site data about his cell phone which the Government


obtained by a court order. Although Ramirez recognizes that the law as set forth in


United States v. Davis, 785 F.3d 498 (11
                                                 th Cir. 2015) (en bane), allows for the

collection of such evidence without the necessity of a search warrant supported by
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probable cause, Defendant explains that he filed the motion solely to preserve a


challenge should the Supreme Court disagree with Davis.


II. Standard of Review


      The district court reviewing an R&R "shall make a de nova determination of


those portions of the report or specified proposed findings or recommendations to


which objection is made." 28 U.S.C. § 636(b)(l). If neither party objects, the


district judge need only review the R&R for clear error and "may accept, reject, or


modify, in whole or in part, the findings or recommendations made by the


magistrate judge." Id. A party objecting to an R&R "must specifically identify


those findings objected to. Frivolous, conclusive, or general objections need not be


considered by the district court." United States v. Schultz, 565 F.3d 1353, 1361


(11th Cir. 2009) (quoting Marsden v. Moore, 847 F.2d 1536, 1548 (11th Cir.


1988)) (internal quotation marks omitted).


III. R&R on Defendants' Motions to Suppress (Doc. 43)


      Magistrate Judge Baverman issued an R&R recommending that Defendant's


motion to suppress be denied and reiterating that the Davis case controls.      The


Court, having reviewed the R&R for clear error, agrees with Judge Baverman's


recommendation, to which there has been no objection. Thus, the Court adopts the


R&R as the opinion of this Court.




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V. Conclusion
                                                                         -
      The Court ADOPTS the R&R (Doc. 364) and DENIES Defendant's Motion


to Suppress (Doc. 261).



      SO ORDERED, this    _fJ_"*Jay of September, 2016.


                                          Eleanor L. Ross
                                          United States District Judge
                                          Northern District of Georgia




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